 Case: 5:24-cv-00304-DCR           Doc #: 54     Filed: 05/12/25       Page: 1 of 3 - Page ID#:
                                               1478



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION


FORCHT BANK, N.A. KENTUCKY
BANKERS ASSOCIATION, and BANK
POLICY INSTITUTE,
                                                       Case No. 5:24-cv-00304-DCR
                            Plaintiffs,
               v.

CONSUMER FINANCIAL PROTECTION
BUREAU and RUSSELL VOUGHT, in his
official capacity

                            Defendants.


   DEFENDANTS’ RESPONSE TO FINANCIAL TECHNOLOGY ASSOCIATION’S
                RENEWED MOTION FOR INTERVENTION

       In response to this Court’s May 5, 2025 order (ECF No. 52), Defendants Consumer

Financial Protection Bureau and Russell Vought file this response to Financial Technology

Association’s Renewed Motion to Intervene (ECF No. 43).

       On March 27, 2025, this Court granted a 60-day stay of these proceedings and a

corresponding 60-day tolling of the obligations prescribed by the rule the plaintiffs are

challenging. The day before, on March 26, 2025, the Proposed Intervenor Financial Technology

Association (FTA) filed a renewed motion to intervene in this matter (ECF No. 43). On May 5,

2025, this Court lifted the stay to allow the parties to complete briefing on the motion to

intervene.

       Defendants do not object to FTA’s participation in this case. Defendants do not take a

position on whether it would be more appropriate for FTA to participate as an intervenor or as an

amicus.
 Case: 5:24-cv-00304-DCR   Doc #: 54     Filed: 05/12/25    Page: 2 of 3 - Page ID#:
                                       1479




DATED: May 12, 2025                         Respectfully Submitted,

                                            MARK PAOLETTA
                                            Chief Legal Officer

                                            DANIEL SHAPIRO
                                            Deputy Chief Legal Officer

                                            VICTORIA DORFMAN
                                            Senior Legal Advisor

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 Case: 5:24-cv-00304-DCR           Doc #: 54     Filed: 05/12/25      Page: 3 of 3 - Page ID#:
                                               1480



                                CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2025, I electronically filed this Response with the clerk of

the court by using the CM/ECF system, which will send a notice of electronic filing to all counsel

of record.


                                                     /s/ Lauren Gorodetsky
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